Case 2:18-CV-OOlOO-UA-|\/|RI\/| Document 1 Filed 02/13/18 Page 1 of 2 Page|D 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

FORT MYERS DIVISION
CASE NO.:

UNITED STATES OF AMERICA,

Plaintiff,
v.
DENNIS CONLEY,

Defendant.

COMPLAINT

 

 

 

TO TI-]E HONORABLE UNITED STATES DISTRICT COURT IUDGE:
The United States of Arnerica, plaintiff, alleges that:
Jurisdiction
1. This Court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. 1345.

Venue

2. The Defendant is a resident of Collier County, Florida Within the jurisdiction of this

Court.
The Debt

3. The debt owed to the USA through January 10, 2018, is as follows:

A. Current Principal (aj&er application of all

prior payments credifs, and ojjfseis) $25,886.23
B. Current Capitalized Interest Balance and $19,055.35
Accrued Interest
Total Owed - Claim Number 2015A35813 $44,941.58

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LAw owens

BECKER & POLIAKOFF, P.A.
121 ALHAMBRA PLAZA, 10TH FLOOR ' CORAL GABLES, FL 33134
TELEPHONE (305) 262-4433

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The Certificate of Indebtedness, attached as Exhibit “A” show the total owed excluding attorney's
fees and CIF charges. The principal balance and the interest balance shown on the Certifleate of
lndebtedness, is correct as of the date of the Certificate of lndebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the rate of 8.25% per annum or $5 .85 per
day.

Failure to Pay

4. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WI-]EREFORE, Plaintiff, UNITED STATES OF AMERICA, prays for judgment

A. F or the sums set forth in paragraph 3 above, plus prejudgment interest through the
date of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28
U.S.C. §1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys' fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

DATED this §§ j day of January, 2018.

  
  

'Respeotfully su `

By:

Steven M. Da\i'is, lorida Ba#r"No. 89424`9)
Email: sdavis@bec er-polialioff.com

Becker a Polial<off, .A.

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Coral Gables, FL 33134

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Facsimile: (305) 442-2232

Atiorneys for Plainizj§‘ United Siaies ofArnerica

 

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LAW oFFICEs
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U. S. DEPARTMENT OF E})UCATIGN
-SAN FRANCI`SCO`, CALIFO-RNIA

C.ER'I`IFICATE OF INDE`B'YEDNESS #1 OF 1

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Aeeonnt No=,.;

Icertify that U. S. Depat'tment of Education reco1ds show that the BORROWE_R§ named above' is indebted
to the United States' 111 the amount stated below plus additional inte1 est t`1 0111 01/10/20]8.

011 01 about 05/0.)/1999 the BO_RROWER executed a p1on1tssoly11.oteto securd a Di1ect Consolidation
loan flom the U. _,S Department of Educatiou. This loan was disbursed for $22 664 36 01106/21/1999 at
3. 25 %'. interest pe1 an'ntnn The loan was made by the Department under the Willliam D. _Ford Fedc1al
Ditect Loan' P1 ogram 1111de1 Tit_le iV, Pa_rt D ot` the High_er E'ducation Aet of 1965 as amended 20 ..U S. C.
lUB?a et seq. (34 C F R Part 685) The D`epartment demanded payment acco:di.:ng to the terms ot the
note-, and the BORROWER defaulted on the obligation on 12/02_/2009.Pu1511a11tto 34 C. I"~` R. §

685 202(11), a1totaf of $4 150" .1 l in unpaid interest was capitalized and added to the pt incipal balance

The Department has ca edited a total of$l$, 919 ._34 111 payments :'.fcom all seur§ces, including Tteasur-y
De})artment offsets it` any, to the baiance. Atter application of these payments, the 'BORROWER now
owes the United States the l"oliowmg:

Principal: $ 25‘,'886.23 '
late-rests $ 19-,055.3`5
real debt-as 010 1111 0/21)1 s: s 4:4,'941 ,511

ln'tet_es_t accrues on the principal shown here at'.the rate of $5.85 per day.

F111'sua11tto 28 _U.'S.C. § 1746(2), i certify under penalty o't` perjury tfiat`the l"ore_g`bing is true and correct

Exec'uted on: l" lq' " n

 

Litigation S pport Unit

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1344 (Rev. 12112) CIVIL COVER SHEET

The ._IS 44 civil cover sheet and the information contained herein‘neither re lace nor sup lement the filin and service of pleadings or other papers as re uired by law, except as
provlded l?`y local rules of court. This form, approved by the Judicial Con erence ofthe {Inited States in eptember 1974, is requ!red for the use ofthe lerk ofCourt for the

 

purpose o initiating the civil docket sheet. (SEE !NSTRUCTJONS ON NEXT PAGE OF THIS FORW
I. (a) PLAINTIFFS DEFENDANTS
uNl'rEr:) sTATES oF AMERICA _ DENN‘S CONl-EY

[h) County of Residence ofFirst Listed Plaintiff County ofResidence ofFirst Listed Defendant COLL|ER

(EXCEPTIN U.S. PLAINTIFF CASE.S) (IN U.S. PLA!NT!FF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND l'NVOLVED.

(C) AttOrneyS (Firm Name, Aa'dres.t, and Tel'ephane Number) Al.'tOI'neyS (§'Known)
STEVEN Nl. DAV|S, BECKER 81 POL|AKOFF, P.A. (305) 262-4433
121 ALHA|V|BRA PLAZA, 1OTH FLOOR
CORAL GJLllBLESl FLOR|DA 33134 '

 

 

II. BASIS OF JURISDICTION (Pl`ace an “X” fn One an Om'y) III. CITIZENSHIP OF PRINCIPAL PARTIES (‘P»'crce an “X" in One Bax_;?)r‘ Pl'ar'mij"
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VII. REQUESTED IN |J CHECK IF THIS Is A CLASS A?"MGN D N $ CHECK YES only ifdemanded in complaint
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JS 44 Reversc (Rev. 12112)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in Septcmber 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint tiled. The attorney filing a case should complete the form as follows:

I.(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attacinnent)".

II. Ju risdiction. The basis of jurisdiction is set forth under Rule S(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings Place an "X"
in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
United States plaintiff (1) Jurisdiction based on 23 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States arc included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S`C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Ccnstitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box l 01'2 should be marked
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity

cases.)

III. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above, Mark this
section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit, if` the cause fits more than

one nature of suit, select the most definitive

V. (_)rigin. Place an "X" in one of the six boxes.
Original Proceedings. (l) Cases which originate in the United States district courts.
Renioved from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.
Remanded from Appellate Couit. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Checlc this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transf`erred from Another District. (5) For cases transferred under Title 28 U.S.C. Secticn 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation. (6) Checl< this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

VI. Cause of'Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief` Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Dernand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

